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                IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

BARBARA A. SPENCER,                 )
                                    )             Case No. CV-07-197-S-BLW
          Plaintiff,                )
                                    )             JUDGMENT
     v                              )
                                    )
CAPITAL ONE BANK, CAPITAL ONE )
SERVICES, INC., and STONEBRIDGE     )
BENEFIT SERVICES, INC.,             )
                                    )
          Defendants.               )
___________________________________)

      Pursuant to the Order of Dismissal filed concurrently herewith,

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this

action be DISMISSED with prejudice. This matter is hereby deemed closed.

                                      DATED: April 29, 2008



                                      B. LYNN WINMILL
                                      Chief Judge
                                      United States District Court




      Judgment - 1
